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                                   UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF DELAWARE


      IN RE: SENSIPAR (CINACALCET                      )
      HYDROCHLORIDE TABLETS)                           )
      ANTITRUST LI GIT ATION                           )
                                                       )     MDL No. 2895
      THIS DOCWvfENT RELATES TO:                       )
                                                       )     C.A. No. 19-02895-LPS
      ALL DIRECT PURCHASER ACTIONS                     )
                                                       )
      AND                                              )
                                                       )
      ALL INDIRECT PURCHASERACTIONS                    )
                                                       )

                                           [PROPOSED) ORDER

              This matter is before the Court on Defendants Teva Pharmaceuticals USA, Inc. ' s, Watson

       Laboratories, Inc., and Actavis Pharma, Inc. ' s (collectively "Teva") Motion to File Their Reply

       Brief in Support of Their Motion to Dismiss Under Seal ("Reply"). After consideration of the

       Motion,

              IT IS HEREBY ORDERED THAT Teva's motion is GRANTED;

              IT IS FURTHER ORDERED that Teva shall file its Reply under seal;

              IT IS HEREBY FURTHER ORDERED that Teva shall file a redacted version of the

       Reply within 7 business days after service of the Reply.




                                                              Chief United States District Judge
